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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

  MOTIVA PATENTS, LLC,
                                                      CIVIL ACTION NO. 9:18-cv-00180-JRG-KFG
         Plaintiff,
                                                      LEAD CONSOLIDATED CASE
         v.
                                                        JURY TRIAL DEMANDED
  SONY CORPORATION ET AL.,

         Defendants.

              MOTIVA’S SUR-REPLY OPPOSING HTC’S MOTION TO DISMISS

        In reply, HTC does not attempt to defend many of the pleading arguments that it made in

 its opening brief—arguments that the Court has already soundly rejected. Nevertheless, based

 on its remaining pleading arguments, HTC continues to seek dismissal of Motiva’s claims of

 indirect and willful infringement. But HTC’s remaining pleading arguments have also already

 been soundly rejected by the Court. HTC has no good reason for a different result here.

        1.      Indirect Infringement—Pre-Suit Knowledge

        Script squarely rejects HTC’s argument that Motiva did not adequately plead pre-suit

 knowledge. HTC argues in reply that Motiva’s reliance on Script is “misplaced” because in

 Script there was an allegation of actual pre-filing knowledge, not just knowledge based on

 willful blindness. See Reply at 2. That is plainly wrong.

        In Script, the allegation of pre-filing knowledge was based solely on willful blindness—

 just as it is here. See Script Security Solutions L.L.C. v. Amazon.com, Inc., 170 F. Supp. 3d 928,

 937 (E.D. Tex. 2016) (Bryson, J.) (“For the portion of alleged induced infringement occurring

 before the first complaint, Script relies on willful blindness to plead knowledge.”) (emphasis

 added). Indeed, Judge Bryson concluded that this allegation of willful blindness was alone

 sufficient to plead knowledge in the pre-filing period. See id. at 938. (“Taking all inferences in

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 Script’s favor, it has pleaded that the defendant took an affirmative action to avoid gaining

 knowledge of the patents in suit—ignoring all patents as a matter of policy. . . . Script has

 sufficiently pleaded inducement . . . .”) (emphasis added).

        HTC tries to obscure this by citing Script’s allegation of pre-filing knowledge, as if it

 means that Script alleged actual pre-filing knowledge. See Reply at 2 (citing Script complaint).

 But willful blindness is a form of knowledge. See, e.g., Global Tech. Appliances, Inc. v SEB SA,

 563 U.S. 754, 766 (2011). So Script did not plead actual pre-filing knowledge merely by

 alleging pre-filing knowledge. Indeed, as Script makes clear, Script relied solely on willful

 blindness to plead knowledge in the pre-filing period. Script, 170 F. Supp.3d at 937. That is

 also confirmed by the briefing, where Script’s only basis for alleging pre-filing knowledge was

 willful blindness. See, e.g., Ex. 1 at 2, 5 [Script Response to MTD].

        HTC also argues that the series of articles that Motiva cited in response to HTC’s

 accusation of bad faith cannot be considered because they are outside of the pleadings. Reply at

 1. But it was HTC who first alleged matters outside of the pleadings. HTC felt it appropriate to

 accuse Motiva’s counsel of bad faith based on allegations that Motiva’s counsel pleaded in other

 cases for other clients—even though those allegations were previously upheld by this Court in

 Script. It was only in response to that baseless accusation that Motiva cited the series of articles

 confirming the notorious fact that companies like HTC take affirmative steps to avoid learning of

 the patents of others that may cover their products. Based on that notorious fact, Motiva has a

 good faith basis to believe that discovery will show that HTC was willfully blind to Motiva’s

 patents. No more is required at the pleading stage.

        To be clear, as in Script, whether Motiva has a good faith basis for its accusation is not

 really at issue on HTC’s motion (and certainly does not need to be pleaded). What matters for

 HTC’s motion is whether Motiva’s allegation is plausibly pleaded. And while HTC may deny


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 Motiva’s allegation, it is certainly plausible that HTC has adopted the widespread policy and

 practice of avoiding reviewing the patents of others.

        2.      Induced Infringement—Identity of Underlying Direct Infringers

        HTC no longer argues that the underlying direct infringers must be specifically identified.

        3.      Induced Infringement—HTC’s Acts Of Inducement

        HTC continues to insist that Motiva’s alleged acts of inducement are generic and merely

 mirror the legal standard. Reply at 2-3. Not so. Motiva alleged that HTC encouraged its

 customers and end-users to use the accused products by advertising and promoting how to use

 them, including by distributing instructions that guide users how to do so. See Member Case No.

 9:18-cv-00179, Dkt. No. 1 at ¶ 68 [Complaint]. Motiva also alleged that HTC induced others

 (including its affiliates and its third-party manufacturers) through contractual relationships to

 import the accused products into the United States. See id. at ¶ 69 And Motiva alleged that HTC

 provided such affiliates and third-party manufacturers with directions to import or sell the

 accused products. See id. Motiva’s allegations that HTC engaged in these specific acts of

 indirect infringement are sufficient at the pleadings stage. See Opp. at 4-5.

        HTC now argues in reply that Motiva did not provide enough detail about the underlying

 direct infringement that it is alleged to have induced See, e.g., Reply at 3 (“Motiva does not

 describe any functionality of the accused products.”); id. (“Motiva provides only the barest

 description of direct infringement, merely parroting claim language . . . .”) id. (criticizing Motiva

 for merely appending “in an infringing manner” to descriptions of how the direct infringers used

 the accused products after being induced to do so by HTC). But the details of how the accused

 products match up to the limitations of the asserted claims will be provided as required by Patent

 L.R. 3-1; they are not required at the pleadings stage. See, e.g., Uniloc USA, Inc. v. Avaya Inc.,

 No. 6:15-cv-1175-JRG, 2016 WL 7042236, *3-*4 (E.D. Tex. May 13, 2016) (Gilstrap, J.).


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        4.      Contributory Infringement—No Substantial Non-Infringing Uses

        In reply, HTC no longer argues that the entire accused products must have no substantial

 non-infringing uses. Nor does HTC continue to argue that Motiva did not identify the accused

 products. HTC’s only remaining argument is that “Motiva’s allegation makes no attempt to tie

 the claim language to any specific feature of the accused product.” Reply at 4. But at the

 pleading stage, Motiva is not required to explain how the features of the accused products line up

 with the limitations of the asserted patent claims. That is a matter for infringement contentions

 to be served under Patent L.R. 3-1. See, e.g., Uniloc, 2016 WL 7042236 at*3-*4.

        5.      Willful Infringement—Pre-Suit Knowledge

        HTC now concedes that “[a] complaint can provide the knowledge necessary for a claim

 of post-filing willful infringement” and that pre-suit knowledge is not necessary. Reply at 4.

        6.      Willful Infringement—Egregiousness

         For post-filing willful infringement, HTC now cites Plano Encryption as holding that a

 complaint must “allege egregious behavior” beyond knowledge. See Reply at 4. But Motiva

 cited Plano Encryption precisely because it rejects HTC’s argument. See Opp. at 6. True, the

 Court there said that a plaintiff must plead “more than mere knowledge of the patent as of the

 date of service to support a claim of willful infringement.” See Opp. Ex. 3 at 13 [Plano

 Encryption Tech., LLC v. Alkami Tech., Inc., No. 2:16-cv-1032-JRG (E.D. Tex. Sept. 22, 2017)

 (Gilstrap, J.)]. But the Court said—in the very next sentence—that the “more” could be “an

 allegation that a defendant continues its allegedly infringing conduct even after receiving notice

 of a complaint . . . .” Id. Motiva specifically alleged that HTC’s indirect infringement “is

 ongoing,” thus pleading the required “more.” See Member Case No. 9:18-cv-00179, Dkt. No. 1

 at ¶¶ 68- 70 [Complaint].




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        For pre-filing willfulness, HTC argues that willful blindness is not sufficient to establish

 knowledge. Reply at 4. And HTC argues that even if willful blindness were sufficient to

 establish knowledge, it is insufficient to establish sufficiently egregious behavior. Reply at 5.

 HTC is wrong on both counts. As discussed in section 1 above, willful blindness is sufficient to

 establish knowledge. And in Script, the Court ruled that the same allegations made here—

 including an allegation of knowledge based on willful blindness—stated sufficiently egregious

 behavior to survive a motion to dismiss. See Script Sec. Sols. L.L.C. v. Amazon.com, Inc., 170 F.

 Supp.3d 928, 939 (E.D. Tex. 2016) (Bryson, J.) (rejecting argument that Script failed to plead

 facts showing that defendants’ “actions constituted an unjustifiably high risk of infringement”

 because “Script has pleaded knowledge of the patent, that defendants’ customers are infringing,

 and that the defendants encouraged this infringement”).

        Finally, HTC argues that Motiva’s reliance on Script “is misplaced because Motiva has

 not pleaded actual pre-filing knowledge.” Reply at 5 (emphasis added). It is not clear what

 HTC intends by this argument. There was no pleading of actual pre-filing knowledge in Script.

 As discussed in section 1 above, the allegations of pre-filing knowledge in Script—just like the

 allegations here—were based on willful blindness, not actual knowledge. And Motiva has

 alleged actual post-filing knowledge (based on the filing of the complaint), just as actual post-

 filing knowledge was pleaded in Script. So Script is squarely on point here. Under Script,

 HTC’s motion must be denied.

        7.      Willful Infringement—Preliminary Injunction

        HTC no longer argues that Motiva’s claim of willful infringement in the post-filing

 period is barred by its failure to seek a preliminary injunction.

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        For the forgoing reasons, the Court should deny HTC’s motion.


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 Dated: January 2, 2019                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of January 2019, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

 to all counsel of record.



                                                      /s/ Matthew J. Antonelli
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